Exhibit

EC Q2

Case 3:23-cv-00340 Document 56-20 Filed 03/13/24 Page 1 of 6 PagelD #: 883

United States
Department of
Agriculture

Office of the
Assistant Secretary
for Civil Rights

Office of Adjudication

1400 Independence
Avenue SW

Washington, DC
20250

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Mr. Corey Lea
Past Office Box 7921
Portland, Tennessee 37148

Dear Mr. Lea:

This is in response to your Freedom of Information request, case tracking
no. #2016-ASCR-00013-F, received in the Office of the Assistant
Secretary for Civil Rights (OASCR) on May 10. 2016, You are
specifically seeking a copy of the determination by the Assistant Secretary
for case no. # 2014-COR-01906,

In response to your request, the Program Intake Division located one letter
issued by the Director of the Office Adjudication (OA) dated October 7,
2014. The fetter is OA’s response to your program discrimination
complaint dated June 22, 2014, which was received in the Program intake
Division on July 8, 2014. Case no. # 2014-COR-01906 was dismissed and
no investigation was conducted because OA did not have jurisdiction to
process your complaint. Because, it was concluded that the OA did not
have jurisdiction to process your complaint, there was no determination
signed by the Assistant Secretary. The October 7, 2014 letter is being
released to you in full.

In accordance with 7 CFR Appendix A to Subpart A of Part 1, we will not
access charges for processing your FOIA request.

This completes the processing of FOIA request 2016-ASCR-0013-F.

Sincerely,

he

Carl-Martin Ruiz
Director
Office of Adjudication

AN EQUAL OPPORTUNITY EMPLOYER

Case 3:23-cv-00340

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QHice of the
Assistant Secretary
for Civil Rights

Office of Adjudication

1400 independence
Avenue SW

Washington, oc
20250

Mr, Corey M. Lea
Post Office Box 7921

Portland, Tennessee 37148

Dear Mr. Lea:

We have received your complaint form on July
apency of the U.S. Department of Agriculture (USDA)
bases of race (Black) and col

your complaint.

On September 5, 2014, an Office of Adjudication staffer contacted you for additional
‘nformation which you responded via electronically

additional information re’

Correspondence Number: 20! 4-COR-01906

garding your race and color.

You alleged that your farm was sold through a foreclo

although you
Service Agency

This office does not have jurisdiction to

yeasons:

1, The loan in question
guaranty (Guaranteed Loan), and is not
the Civil Rights Act of 1964) that give
complaints. Because you

not with FSA, even though FSA guaranteed the loan.

foreclosure; there

filing bankruptcy in the Western District of Kentucky. You also
alleged that the United States Department of Justice (USDOS) Officials continued to
conspire with Farmers National Bank

was obtained

have a bank loan, yo

Based on information you provided, the alleged foreclosure gale is a judicial
fore, the foreclosure matter is under the jurisdiction of the
USDOI and is not within the jurisdiction of USDA. In addition, your bankrw

matter is also under the jurisdiction of USDOI

jurisdiction.

AN EQUAL OPPORTUNITY EMPLOYER

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Document 56-20

Filed 03/13/24

1, 2014, in which you alleged that an

or (Black). We apologize

on the same

(FMB) Officials to
had not exhausted your appeal rights. Y
(FSA) Officials failed to stop FMB from foreclosing.

process your complaint for the
through FMB, which Goan) is 4 contract of

covered under regulations (Title VI of
this office authority to process

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discruminated against you On the
for the delay in yesponding to

day and provided
sure sale on May 29, 2014, two

remove you from your farm

ou further alleged that Farm

following

civil rig
ur contract is with FMB and is

toy
and is not within USDA’s

Page 3 of 6 PagelD #: 885

Mr. Corey M. Lea
Page 2

Regarding your alleg

authority to stop MB, a prt
srowers. YOU did not indicate specifi
your bank loan. Therefore, We 4F

bo
action against
not investigate it.

This 3s USDA’s final action }

Sincerely,

Vier fat

re Ruiz
Director

Office of Adjudication

inclosures (2)

Case 3:23-cv-00340

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Document 56-20

re, FSA did not have

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your complaint and will

SA did not stop the forectosu

vate lender, from foreclosing oni
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{Endorsement eettedl |

Restrictad Delivery Fea
(Endorsement Required) }

Total Posta

Mr. Corey Lea
Post Office Box 7921
Portland, Tennessee 37148

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d 03/13/24 Page 4 of 6 PagelD #: 886

United States
Department of
Agriculture

Office of
Administrative
Law Judges

1400 independence
Avenue SW

Washington, DC
20250-9200

USDA

—
CERTIFIED RECEIPT REQUESTED
September 1, 2016
Corey Lea

P.O. Box 422
Arrington, TN 37014

Subject: Corey Lea A/K/A Corey Lea Inc.; Start Your Dream Inc.,
Cowtown Foundation, Inc., Petitioners
Docket: 11-0180 and 11-0252

Authority: Statute Of Limitations - Equal Credit Opportunity Act

Dear Mr. Lea:

This letter acknowledges receipt of the Amended Petitioner for Review and
Expedited Formal Request for a Hearing Before the Administrative Law Judge
received by the office on August 29, 2016.

A copy of this letter is being served upon the Assistant Secretary for Civil Rights
who shall have 20 days in which to file an answer or other pleadings.

Sincerely,

eneé Leach-Carlos
Hearing Clerk

Enclosure(s):

ce: Knishkowy, Jeffrey
Masker, Stephanie

JC: 9/1/2016

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AN EQUAL OPPORTUNITY EMPLOYER

CERTIFICATE OF SERVICE
Corey Lea a/k/a Corey Lea Inc.,; Start Your Dream, Inc., Cowtown Foundation, Inc., Petitioner

Docket: 11-0180 and 11-0252 (SOL)

Having personal knowledge of the foregoing, I declare under penalty of perjury that the
information herein is true and correct and this is to certify that a copy Amended Petitioner for
Review and Expedited Formal Request for a Hearing Before the Administrative Law Judge with
Hearing Clerk's Letter has been furnished and was served upon the following parties on
September 1, 2016 by the following:

USDA (OGC) - Electronic Mail

Jeff Knishkowy: Jeff.Knishkowy@ascr.usda.gov

Stephanie Masker: STEPHANIE.MASKER@OGC.USDA.GOV

William Jenson: William.Jenson@dm.usda.gov

Respondent(s) - Electronic Mail

COREY LEA: (cowtownfoundation@gmail.com)

Respectfully Submitted,

Jamaal Clayburn

Legal Assistant

USDA/Office of Administrative Law Judges
Hearing Clerk’s Office

1400 Independence Ave., SW, Room 1031-S
Washington, DC 20250-9203

Phone: 202-720-4443

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